446 F.2d 912
    Ernest Harvey OLSEN, Petitioner and Appellant,v.UNITED STATES of America, Respondent.
    No. 71-2081.
    United States Court of Appeals, Ninth Circuit.
    Aug. 6, 1971.
    
      Mark B. Raven (argued), of Risner, Wolf &amp; Raven, Tucson, Ariz;, for petitioner-appellant.
      Garvin Lee Oliver (argued), Dept. of Justice, Washington, D.C., Richard K. Burke, U.S. Atty., Phoenix, Ariz., for appellee.
      Before CHAMBERS and HUFSTEDLER, Circuit Judges, and THOMPSON,* District Judge.
      PER CURIAM:
    
    
      1
      The order adjudging Olsen guilty of civil contempt is affirmed.
    
    
      2
      This court's stay of the district court's order is terminated effective at noon, Wolf &amp; Raven, Tucson, Ariz., for petitioner-appellant.
    
    HUFSTEDLER, Judge (concurring and dissenting):
    
      3
      I concur in the result reached by a majority of the panel under the compulsion of In re Bacon (9th Cir. 1971) 446 F.2d 667; cf. United States v. Gelbard and United States v. Parnas (9th Cir. 1971) 443 F.2d 837.  Were the question open in this Circuit, I would hold that 18 U.S.C. 2515 precluded a finding of contempt for reasons stated in the opinions of Judges Adams and Rosenn in In re Joques Egan (3d Cir. 1971) (en banc) (No. 71-1088, May 28, 1971) and in the opinions of Judges Bazelon and Wright in In re Evans and In re Fishlowitz (D.C. Cir. 1971) (Nos. 71-1499 &amp; 71-1521, July 23, 1971).
    
    
      4
      I would enlarge the appellant on bail pending the filing of his petition for certiorari.
    
    
      
        1
         Bruce R. Thompson, judge of the United States District Court for the District of Nevada
      
    
    